               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DALIA MARQUEZ BERNAL,              )
                                   )
                Petitioner,        )
                                   )
     v.                            )         1:19CV1129
                                   )         1:14CR23-2
UNITED STATES OF AMERICA,          )
                                   )
                Respondent.        )


                                 ORDER

     This matter is before the court for review of the

Recommendation filed on June 22, 2020, by the Magistrate Judge

in accordance with 28 U.S.C. § 636(b). (Doc. 105.) In the

Recommendation, the Magistrate Judge recommends that

Petitioner’s request for relief under the First Step Act, (Docs.

84, 89), be denied and that this action be dismissed sua sponte

without prejudice to Petitioner promptly filing a corrected

motion on the proper § 2255 forms if she seeks to attack her

sentence under that statute and receives permission (from the

United States Court of Appeals for the Fourth Circuit) to do so.

(Doc. 105 at 3.) The Recommendation was served on the parties to

this action on June 22, 2020, (Doc. 106), and Petitioner filed

timely objections and supplemental objections to the

Recommendation, (Docs. 112, 113). Petitioner also filed a motion




      Case 1:14-cr-00023-WO Document 115 Filed 10/21/20 Page 1 of 5
for extension, (Doc. 107), to respond to the Magistrate Judge’s

Recommendation.

    This court is required to “make a de novo determination of

those portions of the [Magistrate Judge’s] report or specified

proposed findings or recommendations to which objection is

made.” 28 U.S.C. § 636(b)(1). This court “may accept, reject, or

modify, in whole or in part, the findings or recommendations

made by the [M]agistrate [J]udge. . . .       [O]r recommit the

matter to the [M]agistrate [J]udge with instructions.” Id.

    This court will address Petitioner’s objections. In her

objections, she makes the following contentions:

    It appears that the [M]agistrate court believes that I
    based my eligibility under the Fair Sentencing Act.
    This is not true. I am requesting a reduction due to a
    change in sentencing pursuant to the First Step Act of
    2018.

    A prior motion was submitted, pursuant to [18
    U.S.C. §] 3582(c). I compelled this court to consider
    that my case should be considered for compassionate
    release for extraordinary and compelling circumstances
    based upon the changes amended to 18 U.S.C.
    [§] 924(c). Congress amended [§] 924(c) therefore a
    consecutive term of 25 years for a 2nd or subsequent
    conviction of possession of a firearm during a drug
    trafficking offense or a violent offense, no longer
    mandates if the crime was committed before a prior
    conviction under the subsection was final. This
    amendment would benefit [Petitioner] had it been in
    effect at the time of her sentencing. (See United
    States v. Urkevich, [No.] 8:03CR37, 2019 WL 6037391[
    (D. Neb. Nov. 14, 2019) (unpublished)].

    The [c]ourt noted in Urkevich that “the [C]ommentary
    [to § 1B1.13 of the United States Sentencing

                                 - 2 -



      Case 1:14-cr-00023-WO Document 115 Filed 10/21/20 Page 2 of 5
    Guidelines] describes certain circumstances under
    which “extraordinary and compelling circumstances” for
    a reduction are deemed to exist, but the [C]ommentary
    does not suggest the list is exclusive. Applicat[ion]
    Note 1(D)[,] titled “Other Reasons” is a catch[-]all
    provision. Th[e Urkevich c]ourt, along with others
    also determined that the [United States Sentencing]
    Commission’s failure to amend 1B1.[1]3 does not
    preclude a court from acting on motions applicable to
    [the Application] Note 1(D) “catch-all provision.”
    . . . Based on the new provision, a person convicted
    of 2 subsequent counts of [§] 924(c) would be
    subjected to (5+5) .. 10 years.

    I was convicted of [§] 924(c)(1)(A)(ii), it carries a
    minimum mandatory of 7 years. I am uncertain if the
    court would subject my sentence to (7+5) 12 years or
    (5+5) 10 years or (7+7) 14 years. I am not seeking to
    reopen my 2255 motion. I am simply seeking relief
    under [§] 3582(c)(1)(A).

(Doc. 112 at 1-2 (underscoring added and stray parentheses

omitted).)

    As the above-quoted passage makes clear, despite titling

her request for relief “Motion to Reopen Bernal’s 2255

Proceeding under Fed. R. Civ. P. 60(b),” (Doc. 84 at 1),

Petitioner now asserts that she instead seeks relief under

Section 603 of the First Step Act of 2018, codified at 18 U.S.C.

§ 3582(c)(1)(A). (See Doc. 112 at 2). However, the court need

not consider new arguments raised by a party for the first time

in objections to a magistrate’s recommendation. See, e.g.,

Greenhow v. Sec’y of Health & Human Servs., 863 F.2d 633, 638

(9th Cir. 1988)) (“The Magistrates Act was [not] intended to

give litigants an opportunity to run one version of their case

                                 - 3 -



      Case 1:14-cr-00023-WO Document 115 Filed 10/21/20 Page 3 of 5
past the magistrate, then another past the district court.”);

Borden v. Sec’y of Health & Human Servs., 836 F.2d 4, 6 (1st

Cir. 1987) (“Appellant was entitled to a de novo review by the

district court of the [magistrate judge’s] recommendations to

which he objected, however he was not entitled to a de novo

review of an argument never raised.”). Moreover, review of the

court’s docket in this matter reflects that Petitioner filed a

separate “Motion Requesting a Reduction of Sentence under 18

U.S.C. 3582(c)(1)(A) pursuant to the First Step Act (FSA) for

Extraordinary and Compelling Reasons,” (Doc. 98), which remains

pending before the court.

    This court has appropriately reviewed the portions of the

Recommendation to which objection was made and has made a de

novo determination in accord with the Magistrate Judge’s

Recommendation. This court therefore adopts the Recommendation.

    IT IS THEREFORE ORDERED that the Magistrate Judge’s

Recommendation, (Doc. 105), is ADOPTED. IT IS FURTHER ORDERED

that Petitioner’s filing labeled “Motion to Reopen Bernal’s 2255

Proceeding under Fed. R. Civ. P. 60(b),” (Doc. 84), as

supplemented, (Doc. 89), is construed as a motion to vacate, set

aside, or correct sentence pursuant to 28 U.S.C. § 2255, and

that this action be, and is hereby, dismissed without prejudice

to Petitioner promptly filing a corrected motion on the proper


                                 - 4 -



      Case 1:14-cr-00023-WO Document 115 Filed 10/21/20 Page 4 of 5
§ 2255 forms if she seeks to attack her sentence under that

statute and receives permission to do so.

    IT IS FURTHER ORDERED that Petitioner’s motion for

extension, (Doc. 107), is GRANTED and her objections and

supplement, (Docs. 112, 113), are deemed timely filed.

    A Judgment dismissing this action will be entered

contemporaneously with this Order. Finding no substantial issue

for appeal concerning the denial of a constitutional right

affecting the conviction, nor a debatable procedural ruling, a

certificate of appealability is not issued.

    This the 21st day of October, 2020.




                                 __________________________________
                                    United States District Judge




                                 - 5 -



      Case 1:14-cr-00023-WO Document 115 Filed 10/21/20 Page 5 of 5
